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                                           No. 23-1752

                                              In the

               United States Court of Appeals
                              For the Fourth Circuit
                                      __________________
             ANTHONY KELLY, GREGORY COOK, GERALD FAIR, JACK HOFFMAN,
          CHRISTOPHER KUNKLE, DAVID PLUNKETT, SAMUEL REYES, FREDERICK RUFF,
                        MICHAEL SHARPE, AND CHAD LALLIER,
                                                                 Plaintiffs-Appellants,
                                                v.
                                    THE CITY OF ALEXANDRIA,
                                                                  Defendant-Appellee.
                                      __________________
                        On Appeal from the United States District Court
                        for the Eastern District of Virginia at Alexandria
                                  Civil Action No. 1:22-cv-196
                                The Honorable Claude M. Hilton
                                      __________________
                                     BRIEF OF APPELLEE
                                      __________________
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1752
        No. __________             Caption: __________________________________________________
                                            Anthony Kelly, et al. v. The City of Alexandria

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        The City of Alexandria
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                     i
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ David F. Dabbs
        Signature: ____________________________________                     Date: ___________________
                                                                                       12/20/2023

                     Appellee The City of Alexandria
        Counsel for: __________________________________




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                                      INTRODUCTION

              The ten Plaintiffs have been employed by the City of Alexandria

        (“the City”) in its Fire Department (“AFD”) as Battalion Chiefs, whose

        duties include commanding half of the City’s firehouses and other

        management-level administrative assignments. Each has been paid in

        excess of $170,000 a year, including straight-time overtime pay. They now

        seek “time and a half” overtime under the Fair Labor Standards Act, 29

        U.S.C. §§ 201 et seq. (“FLSA”), even though they concede that their job

        duties were sufficient to exempt them from such requirement. Their claims

        are based solely on a contention that they were not paid on a “salary basis.”

        29 C.F.R. § 541.600 et seq.

              The district court correctly granted summary judgment on their

        claims. It is undisputed that the City, as a deliberate policy and practice,

        ensured their receipt every two weeks of sufficient, predetermined

        minimum amounts of pay without regard to hours worked, and that they

        suffered no deductions from such amounts. Thus, Plaintiffs were paid on a

        salary basis as a matter of law, and so were fully exempt from FLSA

        overtime under the “highly-compensated” test of 29 C.F.R. § 541.601.

        Accord Emmons v. City of Chesapeake, 982 F.3d 245 (4th Cir. 2020) (finding


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        Battalion Chiefs exempt under the more demanding “primary duty” test).

        This Court should affirm.

                              STATEMENT OF THE ISSUE

              Did the district court correctly grant summary judgment to the City,

        and deny partial summary judgment to the Plaintiffs, where the City

        deliberately and consistently paid them predetermined minimum amounts

        in excess of $684 per week, computed over periods longer than a week and

        without regard to their actual hours worked, and the Plaintiffs identified

        no improper deductions from such amounts?

                               STATEMENT OF THE CASE

        I.    Factual Background

              A.   Job Duties, Assignments, and Schedules

              Battalion Chiefs are high-ranking officers in the paramilitary

        organization of the AFD, which employs two types of Battalion Chiefs:

        operational (or “suppression”) and administrative (or “desk duty”). These

        are “command level administrative and management position[s]” as “the

        commander of a battalion of stations on a shift or as a command level

        administrative or special operations manager,” which “require[]

        considerable independent judgment and the ability to think quickly and



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        make sound decisions in emergencies,” while operating with “significant

        autonomy.” JA60-61, Dkt. 31-10 at 276-79. AFD Battalion Chiefs have at all

        relevant times been classified four grades higher than Captains, the next

        lower rank in the City’s public safety pay scale, and their base pay is thus

        roughly 21% more than Captains at the same step level. Battalion Chiefs

        are paid salaries on average 24.8% higher than Captains. JA245-246, JA261-

        267. The Plaintiffs’ job duties were described and briefed in detail by the

        City to the District Court at JA59-61, JA64-73, and JA77-81.

              “Operational” Battalion Chiefs (of whom there are up to six at any

        one time, two each on three shifts) each command a Battalion covering half

        of the City, each consisting of 4-5 firehouses, 25-35 employees on a shift,

        and millions of dollars’ worth of associated equipment. For most of their

        hours of work, operational Battalion Chiefs are the highest-ranking AFD

        employees working. Operational Battalion Chiefs regularly take command

        of emergency incident scenes,1 supervise and mentor lower-ranking

        officers in the performance of work at such scenes and otherwise, and



        1 Compare 69 Fed. Reg. 22,122, at 22,130 (Apr. 23, 2004) (adopting the 2004

        revision to 29 C.F.R. Part 541) (“directing operations at crime, fire or
        accident scenes” is exempt work).


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        perform numerous other duties that the City contended qualify as

        executive exempt.

              “Administrative” Battalion Chiefs have generally held one of four

        assignments: Special Operations, Professional Responsibility (or

        “Training”), Logistics, or Community Risk Reduction. All of these except

        the Battalion Chief of Special Operations supervise multiple levels of

        employees who report to them, and all but the Battalion Chief of Training

        represent the City to outside parties and/or supervise such work.2 The

        Battalion Chief of Special Operations supervises the Department’s

        readiness to respond to emergencies involving hazardous materials,

        technical rescue, and water rescues, and represents the City to numerous

        regional and working groups with officials of federal, state, and other local

        governments. The Battalion Chief of Training oversees the AFD’s training

        programs and supervises both permanent and temporary training

        personnel, including (indirectly) AFD recruits, who are employees

        assigned to report through the Battalion Chief of Training while being



        2 Compare Reich v. John Alden Life Ins. Co., 126 F.3d 1 (1st Cir. 1997), discussed

        at 69 Fed. Reg. 22,122, at 22,145 (“representing the company” is exempt
        work).


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        trained in “recruit school.” The Battalion Chief of Logistics supervises

        AFD’s supply, facilities maintenance, and apparatus repair teams, all of

        which regularly interact with vendors in their respective areas. The

        Battalion Chief of Community Risk Reduction (“CRR”) supervises the

        City’s fire inspectors, fire marshals, and public information officer, and

        represents the AFD and the City externally on fire-related safety issues.

              The dates of Plaintiffs’ assignments to these various Battalion Chief

        positions are summarized in a chart at JA268.3 As indicated there, nine out

        of the ten Plaintiffs (all but Chief Lallier) have been operational Battalion

        Chiefs for some period within the maximum three-year limitations period

        under FLSA (that is, since February 23, 2019). JA268. Similarly, nine out of

        the ten Plaintiffs (all but Chief Cook) have been administrative Battalion

        Chiefs for some period within the maximum three-year limitations period

        under FLSA (Chief Kelly only on a temporary basis). JA268. Appellants’

        Brief seems to imply at pages 3-5 that Plaintiffs were reassigned among

        these positions on a shift-by-shift basis, but as indicated in JA249-258



        3 This chart contains one error: Chief Ruff was in fact an operational

        Captain, not a Battalion Chief, from January 1, 2019 through roughly April
        19, 2019. See JA257; Dkt. 31-18 at 4.


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        (employment histories) and JA268 (chart), they in fact remained in specific

        assignments for months and often years at a time, with only periodic

        reorganization – most notably in the Spring of 2021, when Chief Reyes was

        promoted to Battalion Chief and five of the other nine changed jobs.

              Operational Battalion Chiefs are normally scheduled to work 24-hour

        shifts on interlocking 9-day cycles, in which each such Chief is scheduled to

        work (like the employees they supervise) only on days 1, 3, and 5, for one

        of three shifts designated “A,” “B,” and “C.” See, e.g., JA427 (Kelly Dep.),

        JA211-222 (color-coded calendar), and JA664-665 (Hoffman Dep.).

        Administrative Battalion Chiefs normally work 40 hours per week. JA18-

        19 and JA41-43 (Complaint and Answer, ¶¶ 41, 43, 47, 52). There is no

        allegation or evidence that these schedules ever varied.

              B.    Pay Policies

              The City paid the Plaintiffs fixed, minimum amounts each pay period

        that were more than sufficient to satisfy FLSA salary basis requirements.

        Its relevant policies and practices are described in the key declaration of

        AFD Fiscal Officer Matt Bosse, who assumed that position beginning in

        2011. JA208-210. As described there in ¶¶ 2-7, the City deliberately

        ensured that for all relevant two-week pay periods, operational Battalion


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        Chiefs received at least 106 times an “hourly rate,” computed as their

        quoted annual salary divided by 2912 (the average number of scheduled

        hours expected to be worked by an operational Battalion Chief over 26 pay

        periods), and that administrative Battalion Chiefs received at least 80 hours

        of pay at an hourly rate computed as their quoted annual salary divided by

        2080 (the number of scheduled hours to be worked by an administrative

        Battalion Chief over 26 pay periods). These policies were continued after

        Bosse’s departure from full-time employment with the City on August 25,

        2022, as indicated in the Affidavit of his subordinate Harouna Gadio,

        JA226.

              Bosse paid great attention to the City’s compliance with FLSA salary

        basis rules. He is well familiar with the FLSA and Virginia wage and hour

        laws, JA329-332 (Bosse Dep.), including the salary basis regulations of 29

        C.F.R. § 541.600 et seq., which he cited off the top of his head in his

        deposition, JA355 (Bosse Dep.); accord JA208 (Bosse Aff. ¶ 3).4 Bosse’s

        undisputed testimony in his deposition was that the City deliberately


        4 Bosse’s command of the FLSA salary basis rules is sufficient that he

        correctly addressed a hypothetical that opposing counsel posed with
        insufficient information. See JA338-344 (Bosse Dep.), compare 29 C.F.R.
        § 541.602(b).


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        maintained payment of 106-hour guarantees to operational Battalion Chiefs

        for the specific purpose of satisfying FLSA salary basis. JA356 (Bosse

        Dep.), accord JA359-360 (id.). His affidavit also shows, also without

        contradiction in the record, that AFD deliberately sought to pay exempt

        employees consistent with salary basis, in sufficient amounts to satisfy 29

        C.F.R. § 541.602, JA208 (Bosse Aff. ¶ 2), and that he regularly reviewed

        each Fire Department payroll, beginning before 2019, in part to ensure that

        Battalion Chiefs received pay (including paid leave) of at least 80 hours in

        each pay period for administrative Battalion Chiefs, JA209 (id. ¶ 6), and a

        minimum of 106 hours in each pay period for operational Battalion Chiefs,

        JA209 (id. ¶ 7).

              Jen Jenkins, the City’s HRIS and Compensation Manager, also

        conducted a review of the Battalion Chiefs’ pay records to confirm that

        they were being paid on a salary basis, in connection with her reviews of

        their job duties in 2019 and/or 2020. JA1051-1053 (Jenkins Dep.).

              The City’s guarantee to operational Battalion Chiefs was also

        described in a memo distributed to employees in roughly 2013 or 2014,

        entitled “Popular Questions and Answers About Payroll.” JA385-386

        (memo), discussed at JA346-349 (Bosse Dep.). One of the “popular

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        questions” addressed was “I worked 96 scheduled hours this pay period,

        how many hours will I get paid for in my paycheck?” The Answer was:

                   Due to the City’s current policy, all Suppression
                   personnel who are on shift work receive 106 hours of
                   regular time pay every paycheck regardless of the hours
                   worked or scheduled. This averages out between shorter
                   weeks (96 hours) and longer weeks (120 hours).

        JA385 (emphasis added). Bosse testified in his deposition without

        contradiction that this remained the City’s policy. JA349 (“that number 3

        appears to be correct”). Bosse further explained that if a Battalion Chief

        works an administrative schedule for the first two-week pay period in a 28-

        day cycle and then goes on an operational schedule for the second such

        pay period but is only scheduled to work 96 hours in that period, he would

        be still paid 106 hours for the second pay period. JA359-360.

              C.     Payroll Records

              The record before the District Court included Plaintiffs’ and other

        AFD Battalion Chiefs’ payroll histories from January 1, 2019, through the

        last payroll issued before the close of primary discovery on December 9,

        2022. JA86 (King Aff.) and JA87-199. JA200-205 and JA206-207 are

        analyses of Plaintiffs’ salaries and total compensation made in an Excel




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        workbook from the one large “sheet” (table of rows and columns) that is

        printed as JA87-198.5

              Annual and weekly totals of amounts paid as Regular Time (pay

        code 100) and paid leave6 are extracted from the payroll data and totaled

        for each Plaintiff and pay period in JA200-205. As shown, during 2019-

        2022, Plaintiffs were paid such amounts for their regularly-scheduled hours

        (including paid leave) at total annual rates ranging from a low of $120,088

        (Chief Kelly in 2019) to highs of approximately $150,000 (Chiefs Lallier,

        Ruff, and Fair in 2022). These amounts are vastly in excess of the $684 per

        week required to be paid on a salary basis as a condition of exemption

        under either the “EAP” (executive, administrative and professional)

        “primary duty” exemptions generally, or under the “highly compensated”




        5 An Excel workbook containing the payroll records JA87-198 and showing

        the derivation of JA200-205 and JA206-207 was emailed to Plaintiffs’
        counsel on December 19, 2022, pursuant to Federal Rule of Evidence 1006.
        The City would be happy to email an electronic copy of this spreadsheet to
        the Court if requested.
        6 As shown in the formulas and by examples throughout the payroll

        records, the additional paid leave amounts included are Annual Leave (pay
        code 310), Comp Time Used (311), Sick Leave (312), Family Sick Leave
        (313), Disability Leave (303), Holiday (304), Funeral Leave (305), FT Paid
        Parental Leave (318), and “Coop” (Covid-related) Leave (325).


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        test of § 541.601, regardless of the precise period or method of

        computation.7

              As shown in JA200-205, the amounts paid as regular time and paid

        leave were generally consistent from pay period to pay period, with

        periodic cost-of-living and step increases (compare JA261-266) and other

        occasional adjustments for reasons noted in the far right-hand column of

        JA200-205. 8 The salary amounts shown in JA200-205 for operational

        Battalion Chiefs are slightly lower than for those for administrative

        Battalion Chiefs with the same quoted salary, only because the operational




        7 As shown in JA206-207, Plaintiffs also received total compensation

        (including overtime) during 2019-2022 at annual rates ranging from a low
        of $170,105 (Chief Kunkle in 2019) to a high of $237,761 (Chief Cook in
        2022). Plaintiffs do not contest the application of the “highly-
        compensated” test under 29 C.F.R. § 541.601, but these amounts are vastly
        in excess of those required to qualify for that test, regardless of the precise
        period or method of computation. As noted in the exhibit, the total
        compensation figures presented in JA206-207 have been adjusted on a pro
        rata basis to reflect annual compensation during the relevant portions of
        each year in which each Plaintiff was employed as a Battalion Chief. (The
        annual salary figures presented at the top of JA200 and JA203 are similarly
        annualized on a pro rata basis.) The annual rates of the Plaintiffs’ salary
        amounts and total compensation are thus clearly far above the relevant
        thresholds.
        8 JA200-205 is a 3x2 matrix of six pages, printed “down, then over.”

        Similarly, JA206-207 is two pages, intended to be viewed side-by-side.


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        guarantee for a two-week pay period was 106 hours rather than 112 (the

        average number of hours scheduled in such a period). 112 hours at

        operational rates would have yielded amounts identical to 80 hours at

        administrative rates (which were higher by a factor of 2920÷2080=1.4), for

        an employee with the same quoted annual salary. Thus, aside from

        occasional raises, the variations over time in each Plaintiff’s salary amounts

        shown in JA200-205 generally reflect their movement back and forth

        between operational and administrative positions.9

              The payroll records presented in JA87-198 show that the City has

        made consistent payment of the 80- and 106-hour guarantees described in

        Bosse’s affidavit and deposition, either by regular pay or paid leave time.

        These records reflect approximately 36 employee-years of work for which

        the payments described were consistently made, over the entire relevant

        statutory period, and Plaintiffs have not identified, cannot cite, and do not

        rely upon any occasion when they were not.



        9 Viewed another way, a transfer of an administrative Battalion Chief to an

        operational position would reduce the salary guarantee only to 75.71 hours
        at the administrative rate (106÷1.4), which amounts still easily exceed the
        $684 weekly minimum (and were still 53/56ths and thus 94.64% of the
        average earnings for a normal administrative workweek).


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              D.   Application of Pay Policies to Battalion Chiefs

              As shown by the payroll records, the City successfully ensured at all

        relevant times that operational Battalion Chiefs received a minimum of 106

        hours per two-week pay period, as either regular pay or paid leave, and a

        minimum of 216 hours per 28-day pay cycle, including regular pay and

        paid leave—the latter also including at least four hours of what is referred

        to as “FLS” pay, for scheduled hours in excess of 212 in a 28-pay pay cycle.

        The guarantee of 106 hours’ pay for operational Battalion Chiefs is only

        slightly less than what administrative Battalion Chiefs always received for

        their 80 scheduled hours every two weeks, by a ratio of 106/112 = 94.64%.

              The 106-hour rule was frequently applied to pay operational

        Battalion Chiefs for hours in excess of those they worked in the pay period

        being compensated. For example, consider two specific 28-day pay cycles

        for Chief Cook, one for the paychecks dated January 29 and February 12,

        2021, and one for the paychecks dated May 21 and June 4, 2021, JA179-180.

        Chief Cook was assigned at these dates to supervise Battalion 211 on shift




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        “A.” 10 See JA249 (employment history). As indicated by the presence of

        “FLS” pay (code 240) in the second paycheck for each cycle, these were

        each, respectively, the first and second paychecks of two different 28-day

        work cycles. JA324; Dkt. 31-11 at 252-54 (“FLS Chart”). Of those two 28-

        day work cycles, the January-February cycle included 137 scheduled hours

        in the first 14-day pay period (the maximum, per JA209, Bosse Aff. ¶ 4)

        followed by 96 scheduled hours (the minimum) in the second 14-day pay

        period. The May-June cycle had the same pattern reversed. Both cycles

        illustrate the operation of the City’s guarantee to ensure payment even

        where hours were not scheduled or worked, and were specifically argued

        to the district court below. JA1257-1258.

              In the May-June cycle, in his paycheck for the first pay period, Chief

        Cook was paid 106 hours in regular time and paid leave, even though he

        had only 96 hours scheduled on his shift, and 24 of those were taken as

        annual leave. He thus received payment for 82 hours of regular time

        (including the 72 he actually worked), plus 24 hours of annual leave, total



        10 Alexandria’s numbers for Firehouses and Fire Battalions are in the 200’s

        to distinguish them from those in nearby jurisdictions, which start with
        different digits.


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        106. Then, in the June 4 paycheck for the second pay period, in which he

        had 137 scheduled hours, he received 106 hours regular time plus 21 hours

        of “FLS” time, thus a total of 127 hours for scheduled time – rather than the

        137 actually worked, because he had been subsidized (in effect) by 10 hours

        in the first pay period. The 106-hour guarantee thus operates to smooth

        and reduce variation in operational Battalion Chiefs’ pay, both up and

        down.

              In the January-February cycle cited above, in his first paycheck Chief

        Cook was paid 106 hours regular time (even though he had worked 137)

        and then in the second paycheck, he was paid 94 hours regular time plus 12

        hours of paid leave (and 21 hours of “FLS” time, also for scheduled hours),

        thus a total of 233 for both pay periods, which is the maximum number of

        scheduled hours in a 28-day pay cycle (again, the maximum, per JA209,

        Bosse Aff. ¶ 4), plus some overtime. Note that in this case Chief Cook

        again received a total of 127 hours of regular and FLS pay in the second

        pay period. The 106-hour guarantee thus operates to smooth and reduce

        variation in operational Battalion Chiefs’ pay for scheduled hours in either

        direction, that is, regardless of the pattern of variation in scheduled hours.




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              As shown by these examples, the City’s guarantees of 106 operational

        or 80 administrative hours’ pay applied even where scheduled hours went

        unworked, because the difference was paid as paid leave. Compare

        29 C.F.R. § 541.602(a) (“a predetermined amount”); accord JA209 (Bosse Aff.

        ¶ 6). Because paid leave was counted toward the overtime thresholds of 80

        per pay period for administrative and 216 per 28-day work cycle for

        operational, each consistent with the treatment required of non-exempts

        under Va. Code § 9.1-703, the scheduled hours were paid in full even

        where overtime (work not included in the normally-scheduled hours) was

        worked in the same pay period (for administrative Battalion Chiefs) or in

        the same 28-day pay cycle (for operational Battalion Chiefs). See, e.g., JA153

        (Hoffman 9/25/20 and 10/9/20) (administrative), JA179 and JA185 (Cook

        1/15/21 and 10/7/22) (operational).

              E.    Additional Facts Relevant to Plaintiffs’ Attacks on Salary
                    Basis

              Plaintiffs rely on the City’s omission to consistently make annual

        “true up” payments to operational personnel when their scheduled hours

        fell slightly short of the expected average of 2912 hours over certain

        periods of 52 weeks (or 26 pay periods, or 364 days) that corresponded



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        roughly to calendar years. See JA1016-1018. As shown above, operational

        Battalion Chiefs can expect 2912 scheduled hours over an average period of

        52 weeks, 26 pay periods, or thirteen 28-day pay cycles, which would result

        in their receipt for those scheduled hours of the exact amount of their

        quoted annual salaries. In practice, payments for normal scheduled hours

        (whether worked or taken as paid leave) vary for different 52-week

        periods, but only slightly. See FLS Chart, supra (showing that for Dec. 12,

        2020, through Dec. 10, 2021, “B” shift had 2887 hours scheduled, the

        minimum, while “A” shift had 2921 and “C” shift had 2928, the maximum,

        each within 1% of the long-term average of 2912).11



        11 2887 is the minimum because the four 28-day cycles that repeated at the

        beginning and end of this 52-week period for “B” shift had the fewest total
        hours scheduled (871) of any continuous set of four 28-day cycles that can
        occur, while the four 28-day cycles that similarly repeated for “C” shift had
        the highest hours of any such set of four continuous 28-day cycles (with a
        total of 912 hours scheduled).
        Because the City’s 28-day cycles simply rotate, one day at a time, through
        the nine possible starting dates among the 9-day scheduling cycle, total
        scheduled operational hours (and thus operational Battalion Chiefs’
        earnings for those hours) will in fact be the same over any period of 36
        weeks, 18 pay periods, or nine 28-day cycles, regardless of when such
        periods begin and end – slightly higher than the guaranteed biweekly and
        28-day minimums for operational, and in fact equal to the guaranteed pay
        for scheduled hours of an administrative Battalion Chief with the same
        quoted salary for the same period.


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                 The average of 2912 hours scheduled over 52 weeks for operational

        Battalion Chiefs results in slightly more than the 106 hours’ pay per pay

        period on which the City relies to satisfy salary basis, which total “only”

        2756 hours per year (53 hours x 52 weeks = 106 hours x 26 pay periods =

        2756). Thus, the annual true-up payments were not mentioned or relied

        upon in the City’s Motion for Summary Judgment, JA57-85, and they are

        not relied by the City upon on appeal. The annual true-up issue also has

        no application to administrative Battalion Chiefs, per the memo on which

        the Plaintiffs rely. JA1016-1018 (applicable to “Suppression employees”

        only).

                 In their Brief at pages 5, 12, and 20, Plaintiffs rely on a 2003 City

        memorandum, which stated that the City follows an “hours paid” rather

        than an “hours worked” policy. JA1010-1015; see JA1010. The City

        contends that these phrases refer to a practice of counting paid leave as

        hours worked in applying overtime thresholds, which is permissible. In

        any event, the cited memorandum did not and has not been claimed to

        provide for any deductions from exempt employees’ pay that would

        violate salary basis.




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              Finally, plaintiffs attack the City’s salary basis by asserting that the

        City’s guaranteed amounts did not bear a “reasonable relationship” to their

        normal pay as required by 29 C.F.R. § 541.604(b). As discussed below, the

        reasonable relationship test under subsection 604(b) compares the

        guaranteed amount to “the employee’s usual earnings at the assigned

        hourly, daily or shift rate for the employee’s normal scheduled workweek.”

        Id. It is undisputed here both that the Plaintiffs had a normal schedule, and

        how their normal, scheduled hours were distributed over time. See JA427

        (Kelly Dep.); JA539 (Plunkett Dep.); JA664-665 (Hoffman Dep.) (“a regular

        schedule, yes”); JA854-855 (Sharpe Dep.).

              Battalion Chiefs were paid for any overtime hours in excess of their

        normal schedules, at “straight-time” rates, but a large proportion of the

        Plaintiffs’ overtime over the relevant period was voluntary. Over the same

        period reflected in the payroll records, the City’s records reflect that the

        portion of Plaintiffs’ combined overtime recorded on various codes

        indicating that it was voluntary (most importantly “MSH,” for Minimum

        Staffing Hire) was 87.8%. JA1231-1234, JA1271-1273 (Cross and Bellomo

        Affs.). For Chief Cook in particular, whose data the Plaintiffs use as their

        example on page 45 of their Brief, voluntary overtime has comprised 91.7%

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        of his total overtime hours (5639.25 ÷ 6147.5 = .9173). As shown at JA1273,

        the largest gap between “Total Known Voluntary OT Worked” and “All

        OT Worked” for any plaintiff in any calendar year is 222 hours by Chief

        Cook in 2022 (1448 minus 1226). Since that total was accrued in 24 pay

        periods, the average amount of such time for him during that year was

        4.625 (222/48) hours per week or 9.25 (222/24) hours per pay period.

        These figures will be used below.

        II.   Procedural History

              Plaintiffs filed their original Complaint against the City on

        February 23, 2022. JA4 (Dkt. 1).12 Discovery concluded on December 9,

        2022, except for one deposition on January 13, 2013, of Jen Jenkins, a City

        human resources official who had been on leave while other depositions

        were taken. JA5-6 (Dkt. 12, 17). For reasons related to 2022 changes in the

        Virginia Overtime Wage Act and the departures of Chiefs Ruff and Fair

        from City employment, the parties both amended their pleadings, with

        leave of court, shortly after discovery closed. JA12-36; JA37-56.



        12 The maximum limitations period under FLSA is three years for willful

        violations, so the earliest date at issue is February 23, 2019. 29 U.S.C.
        § 255(a).


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              The City moved for summary judgment, in part on the grounds that

        Plaintiffs regularly and customarily performed at least some exempt duties,

        sufficient to qualify them for exemption under the “highly compensated”

        test of 29 C.F.R. § 541.601. JA77-81. On motions for summary judgment,

        both the City’s and their own partial motion, Plaintiffs contested neither

        the application of the “highly compensated” test, or that their duties

        satisfied it, see JA1204-1205 and JA1256, nor do Plaintiffs challenge either

        point in their Brief on appeal. The Parties’ briefing on summary judgment

        thus focused only on the question of whether the Plaintiffs had been paid

        on a salary basis within the meaning of 29 C.F.R. § 541.600 et seq.

              Two days before a summary judgment hearing scheduled on

        February 24, 2023, the U.S. Supreme Court decided Helix Energy Solutions

        Group, Inc. v. Hewitt, 598 U.S. 39, 143 S. Ct. 677 (2023). In Helix, the

        Supreme Court considered an oil-rig worker who was paid on a daily rate,

        which exceeded the then-current weekly salary requirement (now $684),

        but without any (other) form of guarantee or minimum, weekly or

        otherwise. The Court found that Hewitt was not paid on a salary basis

        under § 541.602 because he did not receive a predetermined amount “on a

        weekly or less frequent basis” as required by the text of the rule, and it was

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        conceded that he could not qualify as paid on a salary basis under the

        alternative rule of § 541.604(b). The Parties here addressed Helix at oral

        argument, JA1357-1400, but the Court also requested and received

        supplemental briefing on Helix, JA1404-1449 and JA1450-1463, before

        granting summary judgment for the City and denying to the Plaintiffs on

        June 13, 2023.

              In its decision, JA1464-1479, the District Court held that the City had

        the burden to prove exemption, at JA1470. The court found that

        “operational Battalion Chiefs were paid at least 106 hours’ worth of pay

        each pay period, even when they worked less than 106 hours in the

        relevant two-week period,” and that “administrative [Battalion Chiefs]

        [were] always scheduled” a minimum of “40 hours of work per week” and

        were therefore always paid a minimum of “80 hours’ worth of work” every

        two weeks. JA1467. The court also concluded that from 2019-2022,

        “Plaintiffs’ total annual compensation ranged from $170,105 to $237,761,”

        and “Their annual compensation for regularly-scheduled work (plus paid

        leave) ranged from $120,088 to over $150,000.” JA1467. The Court applied

        the “highly-compensated” (or “HCE”) test of 29 C.F.R. § 541.601, finding




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        that “the parties do not dispute that its basic annual compensation

        threshold has been met.” JA1469.

              The court found that Plaintiffs were paid on a salary basis under

        § 541.604(b), for two reasons. First, they received weekly guarantees of a

        sufficient amount because they “were guaranteed 106 hours’ worth of pay

        every two weeks as operational [Battalion Chiefs] and 80 hours’ worth of

        pay every two weeks as administrative [Battalion Chiefs],” “without regard

        to hours worked,” as “illustrated by the fact that operational [Battalion

        Chiefs] were still paid at least 106 hours’ worth of pay even when they

        worked fewer than 106 hours…” JA1472-1473. The Court distinguished

        Helix on the grounds that there, by contrast, “the employee’s pay was

        completely determined by the number of days worked in a week.” JA1473.

        Second, the Court found that “there is a reasonable relationship between

        these guarantees and actual earnings in a normal scheduled workweek.”

        JA1473. For operational Battalion Chiefs, the Court found it undisputed

        that the maximum amount that could be earned for scheduled hours in a

        normal workweek was 72 hours of pay, and therefore computed that the

        maximum possible ratio for a week was 72/53=1.3585, less than the

        Department of Labor’s 1.5 guideline, while administrative Battalion Chiefs

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        had a “ratio of 1.” JA1474. The Court rejected Plaintiffs’ calculations

        including overtime on the grounds that they ignored the language of

        § 541.604(b) considering only earnings in a “normal scheduled workweek,”

        as argued by the City. JA1474.

              Finally, the District Court rejected Plaintiffs’ argument that the

        minimum pay cited by the City could not be considered a guarantee in the

        absence of an explicit contractual promise. JA1474. Citing Coates v.

        Dassault Falcon Jet Corp., 961 F.3d 1039, 1048 (8th Cir. 2020), the Court held

        that a “guarantee” under § 541.604(b) depended on an employer’s practice,

        JA1474, but that “[h]ere, payroll records confirm that no such improper

        deductions took place.” JA1475.

              The District Court also considered whether the City had carried its

        burden as to Plaintiffs’ job duties, despite the Plaintiffs “not provid[ing]

        any arguments” on this point. JA1476. But the court found that the City’s

        evidence had established the performance of at least some exempt duties,

        as required under the highly-compensated test, including some described

        in 69 Fed. Reg. 22,122, at 22,130. Thus the Court found that the Plaintiffs

        were properly FLSA exempt. Judgment was ordered, JA1480, and




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        Plaintiffs filed a timely notice of appeal to this Court on July 12, 2023,

        JA1481.

                                    STANDARD OF REVIEW

              This Court reviews a district court’s order granting summary

        judgment de novo and affirms where “there is no genuine dispute as to any

        material fact and the movant is entitled to judgment as a matter of law.”

        Pennington v. Fluor Corp., 19 F.4th 589, 595 (4th Cir. 2021).

                                SUMMARY OF ARGUMENT

              The district court correctly granted summary judgment that Plaintiffs

        were covered by the “highly compensated” exemption because there is no

        genuine dispute that they were paid on a salary basis. The undisputed

        facts relied upon by the City are sufficient to establish that Plaintiffs were

        paid on a salary basis consistent with 29 C.F.R. §§ 541.602 and/or .604 at all

        relevant times.

              Both operational and administrative Battalion Chiefs received on a

        biweekly basis minimum pre-determined amounts exceeding $684 a week,

        as required by 29 C.F.R. § 541.602(a), without deduction. The City’s use of

        hourly rates, payment of straight-time overtime, and use of paid leave as

        part of these pre-determined amounts are all approved by DOL


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        regulations. And it is undisputed that the City has shown it consistently

        paid these amounts as a deliberate policy to comply with FLSA salary

        basis, without deduction. The Helix case is inapplicable because Plaintiffs’

        guarantees were computed and paid on a biweekly basis without regard to

        their hours worked, and the City provided a guarantee as required by

        § 541.604(b). The adequacy of the City’s guarantee is also directly

        supported by this Court’s 1951 decision in McReynolds, infra.

              Plaintiffs contend that salary basis must be legally enforceable by

        employees, but their position is inconsistent with 29 C.F.R. §§ 541.603 and

        604. That inconsistency has been recognized by other Circuits correctly

        holding that Plaintiffs must identify actual improper deductions to show

        that an employer did not intend to pay on a salary basis. Regardless, this

        court has recognized in similar circumstances that a “clear mutual

        understanding” can be implied for FLSA purposes, which would also be an

        “employment arrangement” under §§ 541.604.

              Plaintiffs’ claims regarding the City’s omission to make annual true-

        up payments are irrelevant to salary basis because the City pays the

        relevant predetermined amounts on a biweekly, not annual, basis. A 2003




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        memorandum on which they rely addresses overtime thresholds, not

        salary basis.

              Finally, the City’s predetermined salary payments bear a “reasonable

        relationship” to Plaintiffs’ earnings for their normal work schedules as

        required by § 541.604(b). Plaintiffs’ calculations including overtime are

        inconsistent with the plain language of the regulation. Per DOL, the

        relevant ratio should not exceed 1.5 over long periods, but the City’s ratios

        cannot exceed 1.3585 even for a single week, and cannot exceed roughly

        1.06 over long periods, or 1.15 even if “worst-case” involuntary overtime

        were considered. For these reasons the district court correctly found that

        Plaintiffs were exempt under the highly-compensated exemption of 29

        C.F.R. § 541.601.

                                        ARGUMENT

              Plaintiffs concede that the District Court recognized the correct

        standard for summary judgment, and found that the City had the burden

        of proof on its affirmative defense that Plaintiffs were exempt. Appellants’

        Brief at 16. They complain at pages 15-22 of their Brief that the District

        Court did not apply a requirement of “clear and convincing” evidence, id.

        at 17-18, or that exemption be shown “plainly and unmistakably,” id. at 18


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        n.6, and/or “ignored key evidence presented by the Chiefs,” id. at 18-22,

        but these points all simply reflect the district court’s correct interpretations

        of the law. Under a proper view of the law, the undisputed facts relied

        upon by the City compelled summary judgment for it, and the list of seven

        items cited by Plaintiffs at pages 19-20 of their Brief are either

        mischaracterized or irrelevant.

              The absence of discussion in the District Court’s opinion of the

        standard of proof evidently reflects that it did not consider any particular

        such standard to be decisive. At the time of its decision, of course, the

        District Court of course did not have the guidance of Carrera v. E.M.D.

        Sales, Inc., 75 F.4th 345 (4th Cir. 2023), cert. pending, No. 23-217, which was

        not decided until a month later.13

              Plaintiffs have conceded below on summary judgment (and now

        again on appeal) that their duties met the required standard for FLSA

        exemption, and/or that the “highly-compensated” test of 29 C.F.R.


        13 The City here contends that under Encino Motorcars, LLC v. Navarro, 584

        U.S. ___, 138 S. Ct. 1134 (2018), the “clear and convincing evidence”
        standard (or the equivalent “clearly and unmistakably” standard) no
        longer applies to FLSA exemptions. But the City recognizes that the panel
        is bound by Carrera. The City thus preserves this argument for further
        review.


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        § 541.601 applies. Arguments not made in a party’s opening brief are

        waived. United States v. Williams, 445 F.3d 724, 736 n.6 (4th Cir. 2006).

        Thus, the Plaintiffs have waived any possible contention about their duties

        or the application of the “highly-compensated” test.14 The District Court

        correctly held without opposition that the City had carried its burden

        regarding duties under the highly-compensated test of 29 C.F.R. § 541.601.

        Plaintiffs’ appeal is thus entirely devoted to their contention that they were

        not paid on a salary basis.

        I.    Plaintiffs have been paid sufficient amounts on a “salary basis”
              within the meaning of the Department of Labor regulations to be
              exempt, as a matter of law.

              To be exempt, employees must be compensated on a “salary basis” at

        a rate of not less than $684 a week, or a similar pro rata rate for a longer

        period. 29 C.F.R. §§ 541.600(a), (b). To qualify, § 541.602(a) provides that

        an employee must “regularly receive[] each pay period on a weekly, or less


        14 Where an employee’s total annual compensation has exceeded $100,000

        or $107,432 per year (the thresholds in effect before and after January 1,
        2020), such a level of compensation is itself “a strong indicator of an
        employee’s exempt status, thus eliminating the need for a detailed analysis
        of the employee’s job duties.” 29 C.F.R. § 541.601(c). As a result, the law
        then requires only that an employee “customarily and performs any one or
        more of the exempt duties or responsibilities of an executive,
        administrative, or professional employee.” Id. (emphasis added).


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        frequent basis, a predetermined amount constituting all or part of the

        employee’s compensation, which amount is not subject to reduction

        because of variations in the quality or quantity of the work performed,”

        (emphasis added), except by a lengthy list of exceptions provided in

        subsection 602(b), none of which are at issue.

              A.    The pay system applied to Plaintiffs meets the standard of
                    subsection 602(a).

              It is undisputed that the minimum amounts regularly and

        consistently received by the Plaintiffs over biweekly and longer periods

        exceeded the rate of $684 a week required to be paid on a salary basis as a

        condition of exemption. For each pay period shown in the payroll records,

        each Plaintiff then employed as a Battalion Chief received regular pay and

        paid leave time totaling at least a pre-determined minimum amount that

        was equal to either 106 hours of pay at an operational rate or 80 hours of

        pay at an administrative rate (depending on the position to which the Chief

        was then assigned). The evidence shows that these amounts were “pre-

        determined” because they arose from the Plaintiffs’ status as operational or

        administrative Battalion Chiefs and their quoted annual salaries. Compare

        JA993-1009 with JA207-208. They satisfy the requirement that they be paid



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        “on a weekly, or less frequent basis” because they were each measured and

        determined for a two-week pay period.

              Nor did Plaintiffs suffer any deductions from these salary amounts.

        As the district court found, “payroll records confirm that no such improper

        deductions took place as BCs were always given at least 106 or 80 hours

        worth of pay regardless of the hours worked.” JA1475. This was not an

        accident. These amounts were paid deliberately by the City to comply with

        FLSA salary basis rules and applied even where Plaintiffs worked fewer

        than the relevant numbers of hours, JA208-209 (Bosse Aff.), because any

        difference was made up as paid leave, JA200-205. These facts are by

        themselves sufficient to establish that the minimum amounts the City paid

        to Plaintiffs and the method of those payments both satisfy the FLSA’s

        “salary basis” requirements under subsection 602(a).

              B.   The City’s use of hourly rates, payment of straight-time
                   overtime, and use of paid leave to satisfy salary basis are all
                   consistent with U.S. Department of Labor (DOL) regulations.

              Plaintiffs contended at various times that they cannot have been paid

        on a salary basis because they were paid straight time overtime for excess

        hours worked, because their pay was computed on an hourly basis, and/or

        because they were required to use paid leave to cover shortfalls in their


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        hours worked. Such contentions have no basis in the governing law. As

        29 C.F.R. § 541.604(a) explicitly provides, “An employer may provide an

        exempt employee with additional compensation without losing the

        exemption or violating the salary basis requirement, if the employment

        arrangement also includes a guarantee of at least the minimum weekly-

        required amount paid on a salary basis.” Such additional compensation

        may be paid “on any basis.” Id. The City’s practice of providing additional

        straight-time hourly pay is thus specifically approved by DOL as compliant

        with salary basis. Similarly, 29 C.F.R. § 541.604(b) provides that “An

        exempt employee’s earnings may be computed on an hourly, a daily or a

        shift basis, without losing the exemption or violating the salary basis

        requirement.” Nor are deductions from Plaintiffs’ paid leave balances

        availing to them, as it is long established that “Employers, without

        affecting their employees’ exempt status, may take deductions from

        accrued leave accounts; may require exempt employees to record and track

        hours; [and] may require exempt employees to work a specified schedule.”

        69 Fed. Reg. 22,122, at 22,178-79 (citing cases and authorities).




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              C.    It is undisputed that the City had both a policy of paying
                    Battalion Chiefs sufficient “predetermined amount[s]” over at
                    least biweekly periods.

              At pages 33-34 of their Brief, Plaintiffs rely on several cases indicating

        that an employer asserting salary basis must show the existence of a

        guaranteed payment of the relevant salary amount. But contrary to the

        Plaintiffs’ resulting argument at pages 35-37 of their Brief, the City has

        made such a showing – affirmative and undisputed – that it had a policy,

        as well as a practice, of paying the consistent minimum amounts described

        above on a bi-weekly basis, and that it has consistently complied with that

        policy.

              Plaintiffs largely ignore the City’s evidence that it paid Battalion

        Chiefs consistent, predetermined minimum amounts each two-week pay

        period. However, as to operational Battalion Chiefs, they accept (and in

        fact adopt as their own contention) that the City “chooses” to pay a

        minimum of 106 hours of pay for each two-week pay period, regardless of

        hours actually worked, specifically for the purpose of providing them with

        more consistent and less variable pay. JA973-974 (¶ 18). Bosse’s

        uncontroverted affidavit and the City’s payroll records each show similarly

        and deliberately unvarying payment of minimum biweekly amounts of 80


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        hours of pay to administrative Battalion Chiefs. These minimum payments

        all vastly exceeded the $684 weekly minimum amount required to be paid

        on a salary basis by 29 C.F.R. § 541.602(a).

              The conclusion that the City has demonstrated a sufficient policy and

        practice of paying on a salary basis is also supported by 29 C.F.R. § 541.603,

        which describes the circumstances under which an employer might lose an

        exemption based on salary basis violations. Under § 541.603(a), exemption

        is lost only if “the facts demonstrate that the employer did not intend to pay

        employees on a salary basis” (emphasis added), which can be shown by an

        “actual practice” of making improper deductions. Even actual improper

        deductions will not result in the loss of exemption if they “are either

        isolated or inadvertent” (emphasis added) and the employees are

        reimbursed. It would be anomalous in the extreme if an employer like the

        City here, which did not make any improper deductions, were held to a

        higher standard than an employer who did make such deductions. Bosse’s

        and Jenkins’ evidence clearly establishes the City’s intention to pay on a

        salary basis. As consistent with section III below, Plaintiffs have not and

        cannot identify or rely on even a single example of an improper deduction

        from any of their pay over the course of nearly four years of employment.

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              D.    Plaintiffs are not hourly employees under Helix because they
                    were guaranteed pre-determined amounts over weekly or
                    longer periods.

              Plaintiffs contend at pages 22-24 and 29-32 of their Brief that they are

        “hourly-rate employees,” and thus non-exempt under Helix, based on a

        contention that the City’s biweekly guarantees were improperly

        “computed” on hourly rates, apparently because each guarantee was an

        amount described as an hourly rate (derived from their salaries) multiplied

        by a number of hours. Appellants’ Brief at 30 (last sentence). This twists

        Helix beyond recognition.

              Plaintiffs are not “hourly-rate” or “hourly-basis” employees within

        the meaning of Helix because it is undisputed that their pay was not

        determined solely by their numbers of hours worked. See Helix, 143 S. Ct.

        at 680 (“…a daily-rate worker, who by definition is paid for is paid for each

        day he works and no others”) (emphasis added), and id. at 686 (“A daily-

        rate worker’s weekly pay is always a function of how many days he has

        labored”) (emphasis added); compare JA209 (Bosse Aff. ¶¶ 6 and 7, e.g.,

        “[The City’s] practice often required that [operational] Battalion Chiefs be

        paid during the first pay period of a 28-day work cycle for hours in excess

        of those they actually worked.”). Helix is thus readily distinguishable, and


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        does not suggest, much less compel, a finding that Plaintiffs were non-

        exempt.

              In this case, instead, it is undisputed that the City deliberately

        ensured Plaintiffs’ biweekly receipt of amounts computed as specific

        proportions of their quoted annual salaries, of which “106 hours” for an

        operational Battalion Chief constituted 3.64% of the annual salary amount

        (106/2912=.0364), and “80 hours” for an administrative Battalion Chief

        constituted 3.85% of the annual salary amount (80/2080=.03846). It is

        undisputed that the Plaintiffs actually received these amounts. See JA86-

        199, JA200-205. It is further undisputed that the City in fact adopted the

        “106 hour” minimum biweekly payment for operational Battalion Chiefs

        for the purpose of reducing variation in their base pay between pay

        periods. See, e.g., JA973-974 (Plaintiffs’ Statement of Undisputed Facts,

        ¶ 18); JA1154-1155 (Response to Defendant’s Statement of Undisputed

        Facts, ¶ 3.e.). And it is further undisputed that the application of this

        minimum amount actually operated to reduce variation in operational

        Battalion Chiefs’ pay on a regular basis, when they worked only 96

        scheduled hours in a two-week pay period but still received payment of

        the amount computed as 106 hours, without regard to their hours actually

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        worked. See, e.g., JA1327-1356 (Plaintiffs’ substantially identical Affidavits,

        each at ¶ 8). For both types of Battalion Chiefs, the amounts of these

        payments were more than sufficient to satisfy the minimum salary amount

        of $684 per week required by 29 C.F.R. §§ 541.600 and 541.604. These facts

        satisfy all of the requirements of the salary basis test.

              Consistent with 29 C.F.R. § 541.602(a), Plaintiffs have, by virtue of the

        guarantee, “receive[d] each pay period, on a weekly, or less frequent basis,

        a predetermined amount constituting all or part of the employee’s

        compensation, which amount [was] not subject to reduction because of

        variations in the quality or quantity of the work performed.” The biweekly

        amounts were pre-determined, at any given time, based on each

        employee’s established salary amount and the systems described, with

        only occasional transitions between operational and administrative based

        on bona fide changes in job duties. Compare JA268 (assignment chart) with In

        re Wal-Mart Stores, Inc., 395 F.3d 1177, 1183-89 (10th Cir. 2005). Plaintiffs in

        fact concede this aspect of the case, when they confirm in their affidavits

        that the City pays them for all hours “scheduled,” JA1327-1356 (Plaintiffs’

        Affidavits, ¶ 7) – rather than hours worked – as it is undisputed that the

        schedules never varied, and that Plaintiffs in fact received these amounts.

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              Thus, the City’s policy and practice of paying Battalion Chiefs a

        minimum, pre-determined amount complies with § 541.602(a) as

        interpreted by the Helix Court: “Whenever an employee works at all in a

        week, he must get his ‘full salary for [that] week’ – what §602(a)’s prior

        sentence calls the ‘predetermined amount.’ That amount must be ‘without

        regard to the number of days or hours worked’ – or as the prior sentence

        says, it is “’not subject to reduction because’ the employee worked less than

        the full week.” Helix, 143 S. Ct. at 686 (quoting 29 C.F.R. § 541.602(a)).

              Helix explained that there are two methods an employer can use to

        establish salary basis: 29 C.F.R. §§ 541.602(a) and 541.604(b), which “offer

        non-overlapping paths to satisfy the salary-basis requirement.” 143 S. Ct.

        at 689. Under Helix, however, the City satisfies the salary-basis

        requirement not only through § 541.602(a), but through § 541.604(b), as

        well. Analyzed under the Helix Court’s reading of § 541.604(b), Plaintiffs

        are also paid on a salary basis because the City “add[s] to [their] per-[hour]

        rate a weekly guarantee that satisfies § 604(b)’s conditions,” 143 S. Ct. at

        691 (including the “reasonable relationship” requirement, addressed in

        Part IV below). As both Helix and 29 C.F.R. § 541.604(b) make clear, an

        employee whose pay is otherwise “computed” on an hourly basis can also

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        receive a guarantee of a minimum amount on a weekly or less frequent

        basis that will be sufficient to satisfy the salary basis requirement. See

        Helix, 143 S. Ct. at 691 (“Helix could come into compliance…[by adding] to

        Hewitt’s per-day rate a weekly guarantee that satisfies § 604(b)’s

        conditions”). Plaintiffs diligently ignore it, but that is exactly what the City

        did here.

              E.     McReynolds confirms that payment of a specified number of
                     shifts or hours is payment on a salary basis.

              If there remained any doubt that the City’s pay system here provided

        a sufficient salary guarantee to both operational and administrative

        Battalion Chiefs, such doubt should be dispelled by the Fourth Circuit case

        of McReynolds v. Pocahontas Corp., 192 F.2d 301 (4th Cir. 1951). In

        McReynolds, the Fourth Circuit considered whether mine foremen were

        paid on a salary basis where they were guaranteed three shifts a week, for

        which the pay was sufficient to satisfy the then-current amount required by

        the salary basis test. This Court reasoned:

                   [W]hat possible difference can it make whether a man is
                   guaranteed a certain weekly wage or a certain number of
                   shifts which will produce a specific wage? In our
                   opinion, what the Regulations mean by a ‘salary basis’ is
                   a guaranteed wage whether the Company operates or



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                 not. Any formula which results in such a guarantee is
                 sufficient.

        192 F.2d at 303 (emphasis added); accord Litvinova v. City & Cnty. of San

        Francisco, 615 F. Supp. 3d 1061, 1068 (N.D. Cal. 2022) (“This is a guarantee

        of a minimum amount of compensation.”). The application of this

        reasoning is clear, and is not abrogated by any intervening change in the

        salary basis regulations: the City’s guarantee of amounts arising from the

        Plaintiffs’ fixed and recurring schedules (which for operational Chiefs

        varied only within permissible limits and for administrative Chiefs not at

        all), is sufficient to satisfy salary basis requirements.

              McReynolds’ focus on the wage guarantee itself, and not on the

        formula used to calculate it, is perfectly in line with Helix. The Helix Court

        explains that § 602(a)’s “weekly basis” requirement “typically refers to the

        unit or method of calculating pay,” 143 S. Ct. at 677, but the Helix Court’s

        definition of salary basis does not hinge on whether an employee’s pay is

        broken down into weekly, daily, or hourly increments on their paystub.

        Rather, it is the existence of a predetermined, guaranteed amount based on

        a work period of a week or longer that determines if the salary-basis

        requirement has been met: “§ 602(a)’s demand that a salaried worker get a



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        preset, fixed amount ‘on a weekly[] or less frequent basis’ means that his

        paycheck reflects how many weeks—not days or hours—he has worked.”

        Id. at 688 (quoting § 541.602(a)). Again, that is exactly how the City paid

        preset, fixed amounts to the Plaintiffs. Thus the City meets the FLSA salary

        basis requirement under the precedent of the Fourth Circuit and the

        Supreme Court.

        II.   Plaintiffs’ contention that salary basis must be guaranteed by
              contract is contrary to DOL regulations and clear caselaw.

              At pp. 25-28 and 32-35 of their Brief, Plaintiffs rely on Hughes v. Gulf

        Interstate Field Servs., Inc., 878 F.3d 183, 192 (6th Cir. 2017), to contend that

        salary basis must be guaranteed to exempt employees “as a matter of right”

        (presumably, contract) rather than a “matter of grace.” That is not the law:

        subsection 541.604(a) and (b) require only that a guarantee be part of an

        ”employment arrangement,” not an “employment agreement,” which was

        a conscious change from the pre-2004 regulation’s focus on an

        “employment agreement.” See JA1225. 15 And § 541.603(a), which is not

        cited or considered by Hughes, provides that the decisive question is not


        15 See also Baden-Winterwood v. Life Time Fitness, 566 F.3d 618, 627 (6th Cir.

        2009); Orton v. Johnny’s Lunch Franchise, LLC, 668 F.3d 843, 848 (6th Cir.
        2012).


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        one of contract or right, but whether the employer “intend[ed] to pay on a

        salary basis.”

              In Hughes, employees had received offer letters stating that they

        would be paid “Salary: $337.00/Day Worked” and had various other

        evidence that they were strictly day-rate workers. 878 F.3d at 191-92. The

        court found that “on the record before [it],” there was a genuine issue of

        fact because the employer’s evidence was controverted. Id. at 192. It made

        its observations about “matter of right” only in rejecting the employer’s

        argument that mere receipt of consistent pay was by itself enough to

        support summary judgment, and reasonably suggested that an enforceable

        contract would have been required to overcome plaintiffs’ considerable

        evidence. Id. at 191-92, 193 n.7. Hughes thus does not hold that salary basis

        must be legally enforceable by employees in all cases.

              The essential background case for understanding the establishment

        or potential loss of salary basis under FLSA is not Hughes, but rather Auer

        v. Robbins, 519 U.S. 452 (1997), in which the Supreme Court endorsed

        DOL’s stated view that an employee’s pay is “subject to reduction” within

        the meaning of salary basis only if the employer had “an actual practice of

        making… [improper] deductions or an employment policy that creates a

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        ‘significant likelihood of… [such] deductions.” 519 U.S. at 461. The Court

        found that DOL’s approach rejected a requirement of actual deductions,

        “but in their absence it requires a clear and particularized policy—one

        which ‘effectively communicates’ that deductions will be made in specific

        circumstances.” Id. In Auer, this standard was not met because the policy

        on which the Plaintiffs relied did not effectively communicate that

        improper deductions would be made because it also applied to non-

        exempt employees. Id. at 462. Auer was applied by the Court in West v.

        Anne Arundel County, 137 F.3d 752 (4th Cir. 1998), where a general policy

        permitted pay deductions for disciplinary reasons but did not apply

        specifically to exempt employees. Auer was decided under the DOL’s pre-

        2004 regulations, but remains a useful guidepost for understanding the

        new 29 C.F.R. § 541.603, and when pay is “subject to reduction” under 29

        C.F.R. § 541.602(a), as that language was retained from the prior 29 C.F.R.

        § 541.118, JA1224-1226.

              The City recognizes that Auer’s holding on deference to

        administrative agencies has since been limited, per Kisor v. Wilkie, 139 S. Ct.

        2400 (2019). The new § 541.603, however, is a deliberate departure from

        Auer, and is now subject to full deference under Chevron U.S.A., Inc. v.

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        Natural Resources Defense Council, Inc., 467 U.S. 837 (1984). See 69 Fed. Reg.

        22,122, at 22,180 (“The final rule represents a departure from the

        Department’s position in Auer…”). Compared to Auer, § 541.603 now

        further restricts the range of circumstances under which an employer will

        be deemed to have violated salary basis.

              The new, modern regulation, in contrast to Auer, provides for the loss

        of the exemption only where “[a]n employer… makes improper deductions

        [and] the facts demonstrate that the employer did not intend to pay

        employees on a salary basis,” 29 C.F.R. § 541.603(a) (emphasis added), or

        “[i]f the facts demonstrate that the employer has an actual practice of

        making improper deductions,” id. § 541.603(b). Other subsections of

        § 541.603 allow employers to escape the loss of exemption in the event of

        “isolated or inadvertent” deductions, id. § 541.603(c), and provide that the

        section “shall not be construed in an unduly technical manner so as to

        defeat the exemption,” id. § 541.603(e).

              Thus, “[i]nstead of Auer’s “‘practice or policy’ standard, the

        ultimate inquiry is now just ‘practice.’” Escribano v. Travis Cty., 947 F.3d

        265, 274 (5th Cir. 2020) (citing 69 Fed. Reg. 22,122, at 22,180). Defeating

        exemption is thus now more difficult for plaintiffs to achieve than it was

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        under Auer. In Escribano, “The County never docked the plaintiffs’ pay,

        nor does any evidence show that other detectives had their pay reduced.

        Because the detectives ‘cannot demonstrate that [their] pay was actually

        subject to improper deductions,’ the County was entitled to judgment as a

        matter of law on this question.” 947 F.3d at 274 (citing cases, including Litz

        v. Saint Consulting Grp., Inc., 772 F.3d 1, 4 (1st Cir. 2014)). The City has

        made the corresponding showings here, and was and is therefore entitled

        to judgment for the same reasons.

              Coates v. Dassault Falcon Jet Corp., 961 F.3d 1039 (8th Cir. 2020), relied

        on by the District Court, also supports the City’s position. Dassault had

        made potentially improper deductions from the pay of 7 of 18 plaintiffs,

        but the court found that salary basis was not subject to summary judgment

        for either party on those facts, and expressly accepted that an absence of

        actual deductions would have been decisive, id. at 1045. It also explicitly

        rejected the suggestion attributed to Hughes that salary basis must be

        enforceable by employees: “we do not agree.” 961 F.3d at 1048. Coates

        found that salary basis was not required to be contractual on the sensible

        ground that the DOL’s 2004 revisions had removed the reference to

        “employment contract” previously contained in 29 C.F.R. § 541.118, in

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        favor of “employment arrangement,” which term is now used in both

        subsections of the modern regulation, § 541.604. Thus the word

        “guarantee” in the same subsection, the court concluded, should be “read

        as a shorthand statement of the governing ‘not subject to reduction’

        standard in 29 C.F.R. § 541.602(a).” 961 F.3d at 1048. Escribano and Coates

        are thus consistent with the current DOL regulations, where Plaintiffs’

        interpretation of Hughes is not. Accord Higgins v. Bayada Home Health Care

        Inc., 62 F.4th 755, 759-60 (3d Cir. 2023) (FLSA salary basis rules “prohibit[]

        an actual and improper deduction from an employee’s salary”) (emphasis

        in original).

              Plaintiffs’ cause on this point is not helped by their string citation on

        page 25 of their Brief to inapplicable cases. McGuire v. City of Portland, 159

        F.3d 460, 461-61 (9th Cir. 1998), actually held for the defendant employer

        against fire department Battalion Chiefs under the Auer case, finding there

        was no substantial likelihood of a disciplinary policy being enforced to

        impose improper salary deductions.16 Four additional district cases cited



        16 Of the unreported cases, Rodgers v. Basin Sch. Dist. No. 72, 2006 U.S. Dist.

        LEXIS 87716 (D. Idaho Dec. 4, 2006) is an unreported motion to reconsider,
        cites McGuire as requiring a contractual guarantee even though neither


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        in a related section at pages 33-34 of Appellants’ Brief are also factually

        inapposite—in each case, as in Hughes, there was either explicit evidence

        that employees were paid solely on an hourly or day rate, or a failure by

        the employer to make any showing of an operative guarantee.

              Here, by contrast, the Plaintiffs resist the City’s evidence of a

        guarantee primarily by citing, at pages 4-6 and 26-27 of their Brief, Personal

        Action Forms that merely list both an annual salary and an hourly rate,

        JA993-1009, the latter of which was obviously necessary and in fact used to

        pay straight-time overtime. Plaintiffs’ evidence here thus does not

        undercut either Bosse’s Affidavit or the City’s payroll records showing the

        actual operation of a guarantee.

              Even if Plaintiffs’ contention that their receipt of fixed salaries must

        be a “matter of right” were correct, it would be satisfied in the Fourth

        Circuit by such an understanding being “implied in fact,” consistent with


        word appears there, and was based in part on an employer policy that
        specifically identified the Plaintiff as being paid hourly. Id. at *11. Martin
        v. Rush, LLC, 2021 U.S. Dist. LEXIS 12602 (E.D. Tex. Jan. 22, 2021), is also
        unreported, and there was no evidence of any kind that the Plaintiff was
        guaranteed any amount per week without regard to hours worked, id. at
        *19-20. And like Hughes, neither case cited nor considered the effect of
        § 541.603 requiring actual deductions as evidence of an intention not to pay
        on a salary basis.


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        Mayhew v. Wells, 125 F.3d 216, 219-20 (4th Cir. 1997) (finding a “clear

        mutual understanding” implied for purposes of fluctuating workweek

        where it was clear that employees understood the payment plan). See also

        JA385 (in Bosse Dep., Ex. 4) (advising employees including Plaintiffs, who

        were all employed at the time, that “all Suppression personnel who are on

        shift work receive 106 hours of regular time pay every paycheck regardless

        of the hours worked or scheduled”), discussed at JA346-349. The

        requirement of a “clear and mutual understanding” under 29 C.F.R.

        § 778.114 is clearly more demanding than that of § 541.603 that a guarantee

        merely be part of an “employment arrangement,” which encompasses

        employees’ passive acceptance. DOL continues to use “clear [and] mutual

        understanding” in a 2020 revision of § 778.114, so it knows how to require

        mutuality where needed. Here, in any event, the Plaintiffs have helpfully

        documented their understanding of the City’s pay system in their

        affidavits. JA1327-1356 (¶¶ 7-8). Plaintiffs clearly understood (or should

        have understood) the guarantees they received because they operated

        frequently.

              Thus, actual deductions from the relevant 80- and/or 106-hour

        guarantees would be required in order for Plaintiffs to defeat salary basis,

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        at least here where the City clearly intended to pay on a salary basis.

        Plaintiffs effectively agree that such deductions did not occur, as they cite

        only the City’s irregularity in issuing irrelevant annual “true-ups,” as

        discussed below.

        III.   Plaintiffs identify no improper deductions from Plaintiffs’ pay, nor
               any policy of making the same, that would defeat salary basis.

               Plaintiffs also assert two other issues that they contend refute the

        City’s evidence of payment on a salary basis: the City’s occasional omission

        to make certain annual “true-up” payments when scheduled operational

        hours fell a few hours short of 2912 in 52-week periods corresponding

        roughly to calendar years, and at pages 5, 12, and 20 of their Brief, a 2003

        memorandum stating that that the City follows an “hours paid” versus an

        “hours worked” policy, JA1010-1015. Neither point establishes what

        Plaintiffs contend it does.

               A.    Plaintiffs’ contentions regarding the City’s omission to make
                     annual “true-up” payments are irrelevant because the City
                     has not relied on those payments to establish salary basis.

               At pages 37-39 of their Brief, Plaintiffs suggest that the absence of

        annual “true-up” payments are an improper deduction. They rely on the

        City’s declaration of, and then apparent failure to consistently make, such



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        payments to fire suppression (that is, operational) personnel whose actual

        scheduled hours fell slightly short of the expected average of 2912 hours

        over certain periods of 52 weeks (or 26 pay periods, or 364 days) that

        corresponded roughly (but not exactly) to calendar years.17

              Plaintiffs’ focus on the City’s annual “true up” to try to establish

        improper deductions is misplaced because the record shows the Plaintiffs’

        receipt of a sufficient regular salary on a bi-weekly or other shorter-term

        basis, before and without regard to any annual payments. The threshold of

        2912 hours per year (the amount quoted on Plaintiffs’ personnel forms), is

        slightly higher than the 106-hour per pay period amounts that the City

        ensured were paid to operational Battalion Chiefs in each individual two-

        week pay period. These minimum payments total “only” 2756 hours per

        year (53 hours x 52 weeks = 106 hours x 26 pay periods = 2756). It is those

        slightly lesser payments (or potentially the total minimum schedule of 216

        hours every 28 days) on which the City relies to establish salary basis,




        17 The figure of 2912 hours is based on the fact that operational personnel

        (including Battalion Chiefs) are regularly scheduled for three out of every
        nine days, and thus an average of 121⅓ 24-hour shifts every 52 weeks, thus
        121⅓ x 24 = 2912 hours.


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        which is why the annual true-up payments were not even mentioned in the

        City’s Motion for Summary Judgment. JA56-85.

              Plaintiffs are thus barking up a meaningless tree, because § 602(a)

        does not require that the entirety of exempt employees’ pay (even the

        entirety of their pay for normally scheduled hours) consist of the

        “predetermined amount” constituting their salary. Plaintiffs’ contentions

        are based on an unstated assumption to the contrary. However, that

        assumption (or contention) has no basis in the text of the regulations. The

        mere fact that the City ever desired to make such payments is actually

        supportive of its intention to pay the Plaintiffs on a salary basis, as it shows

        the City’s concern (however misplaced) that employees should receive an

        entirely consistent annual income. The annual true-up issue also has no

        application to administrative Battalion Chiefs. See JA1016-1018 (applicable

        to “Suppression employees” only).18




        18 Plaintiffs also relied below on a delay in the payment of certain overtime

        to Chief Kelly in July and August of 2022. However, as explained at JA63
        and JA75-76 (City’s MSJ), this event did not involve a deduction from
        salary, was addressed at least reasonably promptly (out-of-sequence check
        shown at JA124), and was internally investigated, see JA1227. Plaintiffs do
        not rely on this event on appeal.


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              B.    Plaintiffs’ reliance on a 2003 memorandum is misplaced.

              Plaintiffs’ reliance on a 2003 City memorandum as inconsistent with

        salary basis is also misplaced, and not merely because 29 C.F.R. § 541.603

        now requires actual improper deductions to defeat salary basis. Even

        under Auer, supra, the 2003 memorandum would be insufficient to help the

        Plaintiffs, because it does not provide for improper deductions, it has no

        clear application to exempt employees, and there is no evidence that it has

        never been interpreted or applied to allow or compel improper deductions.

              Plaintiffs focus on a single sentence stating the City followed an

        “‘hours paid’ versus an ‘hours worked’ policy.” From its date, this

        sentence appears to refer to a practice of counting paid leave as hours

        worked in applying overtime thresholds. Such a practice was then (and is

        now) optional for employers under FLSA, even as to non-exempt

        employees. See DOL Field Operations Handbook (“FOH”), ¶ 32d03c.19

        However, counting paid leave hours toward overtime thresholds had, just

        recently before 2003, become required for non-exempt fire suppression




        19 https://www.dol.gov/agencies/whd/field-operations-

        handbook/Chapter-32#B32d03 (retrieved Dec. 15, 2023), linked from
        https://www.dol.gov/agencies/whd/field-operations-handbook/ (same).


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        employees in Virginia, by 2001 HB 2712 (JA1268-1270), which is now

        Virginia Code § 9.1-703 and was passed in 2001.

              Plaintiffs interpret or characterize “an ‘hours paid’ versus an ‘hours

        worked’ policy” as indicating or suggesting that Plaintiffs are not paid on a

        salary basis within the meaning of the FLSA, but it implies nothing of the

        sort. Plaintiffs have (and have cited) no evidence that the cited language

        means anything different from the natural interpretation that the City had

        adopted a policy similar to that mandated by HB 2712, for some or all

        employees. Nothing about such a policy is relevant to the Plaintiffs’ salary

        basis status.

        IV.   Plaintiffs’ pay is consistent with the “reasonable relationship” test.

              Finally, as their last attack on salary basis, Plaintiffs argue at pages

        40-46 of their Brief that the City’s 106- and 80-hour guarantees fail the so-

        called “reasonable relationship” test of 29 C.F.R. § 541.604(b). Subsection

        604(b) requires that “the weekly guarantee is roughly equivalent to the

        employee’s usual earnings at the assigned hourly, daily or shift rate for the

        employee’s normal scheduled workweek.” (emphasis added). Per DOL Opinion




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        Letter 2018-2520, and consistent with the example given in the regulation, a

        “reasonable relationship” exists if the ratio of the above-described normal

        earnings to the relevant guarantee does not exceed 1.5. For comparison,

        § 541.604(b) explicitly approves a guaranteed amount of $725 for an

        employee paid $210 per shift who “normally works four or five shifts each

        week” (1050/725=1.4483).21 The Department of Labor’s rule allows some

        latitude for the ratio to be slightly or occasionally above 1.5. See DOL

        Opinion Letter 2018-25.




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        https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/2018_11_08
        _25_FLSA.pdf. DOL opinion letters are informal but “constitute a body of
        experience and informed judgment” and are accordingly “entitled to
        considerable weight.” Blake v. Broadway Servs., 2020 U.S. Dist. LEXIS 60100,
        at *27 n.5 (D. Md. 2020) (citing cases).
        21 Accord U.S. Department of Labor Field Operations Handbook (“FOH”),

        Ch. 22, ¶ 22h09 (“There is a reasonable relationship between the two
        amounts if the weekly guarantee is roughly equivalent to the employee’s
        usual earnings at the assigned rate for the employee’s normal scheduled
        workweek,” and “A 1.5-to-1 ratio of actual earnings to guaranteed weekly
        salary is a ‘reasonable relationship’”).
        https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/FOH_Ch22.
        pdf (retrieved Dec. 15, 2023), linked from
        https://www.dol.gov/agencies/whd/field-operations-handbook.


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              A.    Plaintiffs use the wrong formula to measure the reasonable
                    relationship.

              Plaintiffs compute annual “reasonable relationship” ratios for

        themselves in excess of 1.5, JA1199-1201 (which is excerpted on p. 45 of

        Appellants’ Brief), only by using their total compensation as the numerator

        in place of their earnings for “normal scheduled workweek[s].” This

        substitution is contrary to the express language of 29 C.F.R. § 541.604(b),

        and would permit them to void their own exemptions by volunteering for

        extra paid hours. They contend that Judge Hilton’s adherence to the

        regulatory text is “radical.” Appellants’ Brief at 42.

              Instead of using their “usual earnings… for [their] normal scheduled

        workweek” as the regulation clearly commands, Plaintiffs use their total

        earnings, some of which include relatively large amounts of overtime.

        They do this even though there is no controversy that their normal or

        regular work schedule was the rotating 9-day schedule in which they work

        only days 1, 3, and 5. This is enough by itself to invalidate Plaintiffs’

        analysis, but JA1199-1201 further distorts the results by comparing

        annualized total compensation figures to non-annualized partial years of

        salary data, and by ignoring the evidence of a guarantee to administrative



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        Battalion Chiefs, compare JA209 (Bosse Aff. ¶ 6). They did only one thing

        right: averaging over long periods. Accord Blake, supra n.20, 2020 U.S. Dist.

        LEXIS 60100, at *27-28 (“cherry pick[ing] the highest paying weeks and

        calculat[ing] those ratios” would “pervert[] the purpose of the test”).

              B.    Measured properly against payment for their normal work
                    schedules, there is no genuine dispute that the required
                    relationship test is satisfied.

              Neither side challenges or questions DOL’s 1.5 threshold ratio

        defining a “reasonable relationship.” Using their normal schedule as the

        numerator, the Plaintiffs’ pay passes this test easily. As Judge Hilton

        noted, an operational Battalion Chief could have as many as 72 regular

        hours (three 24-hour shifts) in a week, for which only 53 hours pay would

        be guaranteed, creating a ratio as high as 72/53 = 1.3585 for that week in

        isolation. But the correct computation for a two-week pay period can never

        exceed 127/106 = 1.198 (because 127 is the largest number of scheduled

        hours that can be paid in a two-week pay period), and for a 28-day pay

        cycle, 233/212 = 1.099 (because the maximum number of scheduled hours

        in a 28-day pay cycle is 233, not 240, per JA209, Bosse Aff. ¶ 4). The ratio

        will be only 56/53 (or 112/106 or 2016/1908) = 1.0566 over any continuous

        period of 36 weeks (and for longer periods, will vary randomly above or


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        below that figure, but only in small increments), and for a period of 52

        weeks, not more than 2928/2756 = 1.0624. The ratio is in fact 1.0 at all

        times for administrative Battalion Chiefs, who simply received their full

        salary amount every two weeks while their scheduled hours never varied.

              Plaintiffs rely in part on DOL Opinion Letter 2018-25, and a variety of

        energy industry cases, all of which (including the opinion latter) are

        distinguishable because the employers did not (and apparently could not)

        assert that there was any “normal scheduled workweek.” In the opinion

        letter, the employer had guaranteed only 30 hours’ pay per week to

        “engineers and senior designers” at $70 an hour, thus $2,100 a week, but

        told DOL that these employees’ work hours were “virtually impossible to

        predict” due to varying requirements. Id. at 1. Unlike in this case, there is

        no indication in the Opinion Letter that the employer ever indicated the

        existence of any standard or normal schedule. The employer also advised

        that at least one employee’s average weekly earnings in a particular year

        had been $3,761, which exceeded the guarantee by a ratio of 1.79. In these

        circumstances, DOL advised that using annual average earnings to

        compute the ratio was “a reasonable method.” Id. at 2.




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              Each of the four unreported cases cited at page 43 of Appellants’ Brief

        arose in the energy industry in Texas or Louisiana, as Helix did, and not in

        any of them did the employer rely, as the City does here, on the existence

        of a “normal, scheduled workweek.” Sonnier v. Recon Mgmt. Servs. Inc.,

        2022 U.S. Dist. LEXIS 8086 (W.D. La. Jan. 14, 2022) actually found that the

        plaintiff employee’s pay was consistent with the reasonable relationship

        test, and held for the employer based on an absence of any improper

        deductions, id. at *18, *25.22 Isolated statements referring to normal

        earnings without regard to a “normal scheduled workweek” arise from

        courts (including the Helix Court) using the first sentence of § 541.604(b),

        which refers only to “the amount actually earned,” as a summary of the

        rule – which is without consequence where there is no normal workweek

        claimed. But there is no ambiguity in the regulation, as the second

        sentence provides clearly, “The reasonable relationship test will be met if the

        weekly guarantee is roughly equivalent to the employee’s usual earnings at




        22 The other cases are Guilbeau v. Schlumberger Tech. Corp., 2023 U.S. Dist.

        LEXIS 117614 (W.D. Tex. July 7, 2023); Vaughn v. Wingo Serv. Co., 2022 U.S.
        Dist. LEXIS 142105 (S.D. Tex. Aug. 4, 2022); and Gentry v. Hamilton-Ryker IT
        Sol., LLC, 2022 U.S. Dist. LEXIS 38398 (S.D. Tex. Mar. 4, 2022).


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        the assigned hourly, daily or shift rate for the employee’s normal scheduled

        workweek.” 29 C.F.R. § 541.604(b) (emphasis added).

              C.    The City’s guarantees bear a “reasonable relationship” to
                    usual pay for “normal scheduled hours” under any
                    reasonable analysis.

              In considering the importance of subsection 604(b)’s limitation to

        “normal scheduled hours,” the Court may wish to note that large

        majorities of most of the Plaintiffs’ overtime during the relevant statutory

        period have been voluntary. Per the figures provided by Chief Cross in

        JA1273, even if all potentially involuntary overtime were deemed part of

        the “normal scheduled workweek,” the highest possible “reasonable

        relationship” ratios, using Chief Cross’ involuntary overtime data from

        2022, would be (72+4.625)/53 = 1.4457 for an isolated week, (127+9.25)/106

        = 1.2854 for a pay period, and (233+18.5)/212 = 1.1863 for a 28-day work

        cycle. Averaged over a year, as Plaintiffs propose, this ratio would not

        exceed (2928+26*9.25)/2756 = 1.1497.

              The significance of the Plaintiffs’ large proportion of voluntary

        overtime is that it under their proposed rule, employees could have

        substantial control over their own “reasonable relationship.” This would

        create an incentive for plaintiffs in future cases to manipulate the test by


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        volunteering for excessive overtime, which is presumably why the DOL

        regulation explicitly specifies the use of “the employee’s normal scheduled

        workweek” (emphasis added) – indicating that the workweek used must

        be both “normal” and “scheduled.”

              The City does not suggest that this analysis is necessary for it to

        prevail, as the phrase “normal scheduled workweek” unambiguously

        excludes all overtime. That the Plaintiffs’ overtime is not part of their

        “normal scheduled workweek” within the meaning of § 541.604(b) is also

        shown by the fact that in such assignments they are at least generally not

        supervising their normal shift and Battalion, since they are working

        additional hours or shifts outside that normal assignment. For

        administrative Battalion Chiefs who work operational duty overtime, they

        are of course not even performing their normal job. Thus the “reasonable

        relationship” test would be met even under the worst possible conditions –

        even if all overtime that is not expressly voluntary were included in the

        “normal scheduled workweek,” even if the highest possible Plaintiff-year

        were used as the assumed amount of involuntary overtime, and even if the

        ratio were otherwise measured over the shortest possible period of time.

        The City’s evidence thus shows that it is not possible for a properly-

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        computed ratio of “usual pay… for the employee’s normal scheduled

        workweek” to guaranteed amounts to exceed the permitted ratio of 1.5,

        even for short periods, for any of the Plaintiffs.

              Unlike in Helix, where it was undisputed that the reasonable

        relationship test was not satisfied (perhaps because there was no “normal,

        scheduled workweek,” as in DOL Opinion Letter 2018-25), here it is clear

        that the reasonable relationship test is in fact satisfied. Plaintiffs’

        contention that their pay was too variable, in some vague sense, to be

        deemed a salary can only be considered under the specific and objective

        “reasonable relationship” test of 29 C.F.R. § 541.604(b), which is decisively

        resolved in the City’s favor as a matter of simple arithmetic.

                                        CONCLUSION

              For these reasons, this Court should affirm the District Court’s

        judgment as to both the granting of the City’s motion for summary

        judgment and the denial of the Plaintiffs’ motion for summary judgment.




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        Dated: December 20, 2023         Respectfully submitted,

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                              CERTIFICATE OF COMPLIANCE

              1.   This brief complies with the type-volume limitations of Fed. R.

        App. P. 32(a)(7)(B) because it contains 12,699 words, excluding the parts of

        the brief exempted by Fed. R. App. P. 32(f).

              2.   This     brief   complies    with   the    typeface      and   type-style

        requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because

        it has been prepared in a proportionally spaced, 14-point Book Antiqua font

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                                               /s/ David F. Dabbs
                                               David F. Dabbs




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                                  CERTIFICATE OF SERVICE

              I hereby certify that on December 20, 2023, the foregoing was filed with

        the Clerk of the United States Court of Appeals for the Fourth Circuit using

        the appellate CM/ECF system, which will also serve counsel of record.


                                            /s/ David F. Dabbs
                                            David F. Dabbs




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